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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 WE CHARITY,

                        Plaintiff,
 vs.                                                      Civil Action No. 1:22-cv-00340; RDM

 CANADIAN BROADCASTING
 CORPORATION,

                        Defendant.



                           DECLARATION OF NATHAN SIEGEL

       I, NATHAN SIEGEL, pursuant to 28 U.S.C. § 1746, state that I have personal knowledge

of the facts set forth below and am competent to testify as follows:

       1.      I am a partner at the law firm Davis Wright Tremaine LLP, and I represent the

Defendant, Canadian Broadcasting Corporation (“CBC”), in this matter.

       2.      Attached hereto as Exhibit A is a true and correct copy of an email chain between

myself and counsel for Plaintiff, WE Charity (“WE”). The top-most email on this chain is dated

March 16, 2022.

       3.      Attached hereto as Exhibit B is a true and correct copy of an email chain between

myself and counsel for WE. The top-most email on this chain is dated April 6, 2022.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Dated: April 4, 2023



                                                     __________________________
                                                     Nathan Siegel
